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                                                                      Exhibit A
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                                         23CV38807


 1

 2

 3

 4                      IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                                       FOR THE COUNTY OF LANE

 6   DAVID P. STAPLETON in his capacity as
     COURT-APPOINTED RECEIVER for the                     Case No. 23CV38807
 7   RECEIVERSHIP ENTITY, including ZADEH
     KICKS, LLC dba ZADEH KICKS, an Oregon                AMENDED COMPLAINT (FRAUDULENT
 8   limited liability corporation,                       TRANSFER AND UNJUST ENRICHMENT)

 9                          Plaintiff,                    (Adjunct to Case No. 22CV16510)

10           v.                                           Fee Authority: ORS 21.160(1)(c)

11   TWENTY-TWO SHOES, LLC, a New Jersey
     limited liability company,                           NOT SUBJECT TO MANDATORY
12                                                        ARBITRATION
                            Defendant.
13

14            Plaintiff David P. Stapleton, in his capacity as court-appointed receiver (“Receiver”), files

15   this Complaint against Defendant Twenty-Two Shoes, LLC and alleges as follows:

16                                                PARTIES

17

18            Plaintiff David P. Stapleton is a court-appointed receiver acting pursuant to this Court’s

19   May 20, 2022, Order Appointing Receiver (“Receivership Order) in the Lane County Circuit

20   Court, Case No. 22CV16510, captioned In re Judicial Dissolution of Zadeh Kicks LLC dba Zadeh

21   Kicks. A copy of the Receivership Order is in the court record and is incorporated herein by

22   reference.

23            This Court appointed the Receiver to marshal and liquidate the assets of Zadeh Kicks

24   (“Receivership Entity”) and for handling claims from numerous creditors.

25

26



Page 1      AMENDED COMPLAINT (FRAUDULENT TRANSFER AND                            BUCHALTER
                                                                                  A Professional Corporation
            UNJUST ENRICHMENT)                                                    805 SW Broadway, Suite 1500

                                                                                                          Exhibit A
                                                                                  Portland, OR 97205-3325
                                                                                  Telephone: 503.226.1191 / Fax: 503.226.0079
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 1

 2            Upon information and belief, defendant Twenty-Two Shoes, LLC (“Defendant”), is a

 3   limited liability company with its principal place of business in New Jersey.

 4

 5            All conditions precedent to the filing of this action have occurred or been performed,

 6   excused, or waived.

 7                                           BACKGROUND

 8

 9            Zadeh Kicks is a premium brand sneaker resale company that was formed in 2013. Zadeh

10   Kicks established a nationwide customer base by selling online limited edition and collectable

11   sneakers. Zadeh Kicks initially purchased sneakers and sold its inventory. Beginning in or around

12   2019, Zadeh Kicks began advertising, selling, and collecting payments for the purchase of

13   sneakers before their public release dates, known as preorders. Zadeh Kicks would price the

14   preorders at near or below the Manufacturer Suggested Retail Price, or MSRP, to drive up the

15   number of orders received. Customers would pay for the sneakers via PayPal or wire transfer prior

16   to their release date.

17

18            In many cases, after receiving the payments, Zadeh Kicks did not have the ability to

19   purchase the sneakers for less than the price at which it presold the sneakers. Instead, Zadeh Kicks

20   purchased sneakers from other third-party vendors for or above retail price. In other words, Zadeh

21   Kicks collected money for preorder sales from victim customers knowing that actually fulfilling

22   the orders would be financially ruinous.

23

24            By or near the fall of 2020, Zadeh Kicks began advertising, selling, and collecting

25   payments from victims for preorder sneakers knowing it could not satisfy all orders placed.

26



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 1

 2            Instead of completely refunding customers for undelivered sneakers, Zadeh Kicks offered

 3   a combination of refunds and gift cards to those who did not receive sneakers. Zadeh Kicks would

 4   offer to “buy back” the sneakers from the customers at a premium, offering cash and gift cards in

 5   excess of the amounts paid by its customers for the sneakers. By offering gift cards for future

 6   purchases through Zadeh Kicks in the buyback scheme, Zadeh Kicks was able to keep more of

 7   the cash profits from the fraud.

 8

 9            Zadeh Kicks received and accepted preorder sales for over 600,000 pairs of sneakers,

10   resulting in payments of over $70 million. Zadeh Kicks had no way of acquiring the quantity of

11   sneakers needed to fill the number of preorders. Nevertheless, Zadeh Kicks accepted payments

12   for orders knowing that it could not fulfill many of the orders.

13

14            By April 2022, Zadeh Kicks LLC owed customers over $70 million for undelivered

15   sneakers, with additional millions held by customers in worthless gift cards for Zadeh Kicks.

16

17            The Receiver has undertaken a detailed forensic investigation of Zadeh Kicks’ business

18   practices, uncovering multiple instances of self-dealing, misstatements of the Receivership

19   Entity’s financial position, and other activities intended to perpetrate a scheme by which

20   customers made payments to Zadeh Kicks.

21

22            Based on the Receiver’s investigation, Zadeh Kicks was insolvent at all material times,

23   namely at the times the subject funds were transferred to Defendant.

24

25            The Receiver’s accounting shows that Defendant received $867,949 in the form of cash

26   and sneakers from Zadeh Kicks in excess of funds paid to Zadeh Kicks in the period between



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 1   January 2020 and April 2022 for which Zadeh Kicks received no value. During the time that this

 2   money was sent to Defendant, based upon the books and records available to the Receiver and his

 3   forensic accounting team, it is believed that Zadeh Kicks was insolvent.

 4

 5            The Receiver issued a letter to Defendant, at the last known address available on the books

 6   and records of the Receivership Entity, demanding return of the funds transferred. As of the filing

 7   of this Complaint, Defendant has failed to return those funds.

 8
                                      FIRST CLAIM FOR RELIEF
 9
                          (ORS 95.230 and 95.240--Avoidance of Constructive
10                                     Fraudulent Transfers)

11

12            The Receiver re-alleges and incorporates by reference all prior paragraphs of this

13   Complaint as if fully set forth herein.

14

15            During the Zadeh Kicks scheme, Defendant received transfers from Zadeh Kicks totaling

16   $867,949. Zadeh Kicks did not receive reasonably equivalent value for the transfers made to

17   Defendant.

18

19            Zadeh Kicks was (a) insolvent at the times the transfers were made, or (b) engaged in or

20   obligated to do business in relation to which its remaining assets were unreasonably small

21   following the transfers, or (c) intended to incur, or reasonably should have known it would incur,

22   debts beyond its ability to pay at the time of and as a result of the transfers.

23

24            As a result of the transfers, the Receivership Entity and its customers and creditors have

25   been harmed and damaged.

26



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 1

 2            The Receiver is entitled to void the transfers in amounts to be proven at trial pursuant to

 3   ORS 95.230(1)(b), ORS 95.240(1), and ORS 95.260.

 4                                   SECOND CLAIM FOR RELIEF

 5                                         (Unjust Enrichment)

 6

 7            The Receiver re-alleges and incorporates by reference all prior paragraphs of this

 8   Complaint as if fully set forth herein.

 9

10            Zadeh Kicks provided funds to Defendant without receiving a reasonably equivalent

11   value.

12

13            Unless Defendant is ordered to pay the Receivership Entity the amount of $867,949,

14   together with interest at the statutory rate of 9% per annum, until paid in full, Defendant will be

15   unjustly enriched in that amount to the detriment of the Receivership Entity.

16

17            Accordingly, the Receiver, on behalf of the Receivership Entity, is entitled to a money

18   judgment against Defendant for the total indebtedness in an amount to be proven at trial.

19                                       PRAYER FOR RELIEF

20            WHEREFORE, the Receiver respectfully prays for the following relief:

21            A.    On its First Claim for Relief, for judgment in favor of the Receiver and against

22   Defendant in amounts to be proven at trial to void actual fraudulent transfers;

23            B.    On its Second Claim for Relief, for judgment in favor of the Receiver and against

24   Defendant in an amount to be proven at trial, but no less than $867,949 plus all interest accrued

25   through entry of judgment, as well as post-judgment interest, at the statutory rate of 9% until the

26   judgment is paid in full;



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 1            C.   For pre- and post-judgment interest to the fullest extent permitted by law;

 2            D.   For the Receiver’s costs and disbursements to the fullest extent permitted by law;

 3   and

 4            E.   For any other and further relief this Court deems just and equitable.

 5           DATED this 1st day of November, 2023.

 6                                               BUCHALTER
                                                 A Professional Corporation
 7

 8
                                                 By /s/ Daniel P. Larsen
 9                                                  Daniel P. Larsen, OSB No. 943645
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                                                      Los Angeles, CA 90017-1730
14                                                    Tel: 213.891.5012
15                                                    Attorneys for Receiver
16

17

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